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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    _______________________________________________

    ANTHONY JACKSON,

                                        Petitioner,                               5:07-CV-1303
             vs.                                                                     (NAM)
                                                                              Related Criminal Action
    UNITED STATES OF AMERICA,                                                     5:03-CR-0243-013

                            Respondent.
    _______________________________________________
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    APPEARANCES:                                                   OF COUNSEL:

    Anthony Jackson
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    Elmira Correctional Facility
    P.O. Box 500
    Elmira, NY 1
    Petitioner, pro se

    Office of the United                                           John M. Katko, Esq.
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    Attorney for Respondent

    Norman A. Mordue, Chief U.S. District Judge

                                   MEMORANDUM-DECISION AND ORDER
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    I.       Background1

             On August 7, 2003, a Superseding Indictment was returned by a grand jury sitting in the

    Northern District of New York. See 03-CR-0243, Dkt. No. 69 ("Superceding Indictment"). That

    accusatory instrument alleged that petitioner pro se Anthony Jackson and others combined,



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                     The background information contained in this Memorandum-Decision and Order is derived from the
         documents filed in the present civil action, Jackson v. United States, 5:07-CV-1303 (“07-CV-1303"), as well as
         the file of the related criminal matter, United States v. Edwards et al., 5:03-CR-0243 (N.D.N.Y.) ("03-CR-
         0243").
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    conspired, confederated, and agreed to engage in a pattern of racketeering activity through their

    membership in a criminal enterprise known as the Boot Camp Gang. Id.

            On January 15, 2004, following negotiations between Jackson's counsel and Assistant United

    States Attorney John Katko (“AUSA Katko”), the parties entered into a plea agreement relating to

    the Superceding Indictment. 03-CR-0243, Dkt. No. 199 ("Plea Agreement"). That agreement

    contained, inter alia, the factual basis for Jackson's guilty plea (see Plea Agreement at ¶ 4) and

    provided that, under the terms of the Plea Agreement, he was expressly waiving his right to appeal
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    or collaterally attack his conviction and any sentence of imprisonment of 210 months or less. Id. at

    ¶ 11.

            At the proceeding over which this Court presided wherein Jackson formally entered his

    change of plea, the Court informed him of the rights he would be waiving by entering a guilty plea

    and the consequences of that plea. See Transcript of Change of Plea of Anthony Jackson (03-CR-
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    0243, Dkt. No. 370) ("Plea Tr.") at pp. 2-4. After Jackson acknowledged that he was aware of those

    facts, id. at p. 4, the Court took his guilty plea and then elicited answers from him which established,

    inter alia, that he had not been threatened into changing his plea, he was not under any duress, and

    he was entering the plea voluntarily and of his own free will. Id. at pp. 6-11. AUSA Katko then

    discussed what the Government would have proven if the case had gone to trial, id. at pp. 13-15, and
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    Jackson conceded that he had engaged in the acts summarized by the prosecutor which led to the

    criminal charges that were brought against Jackson. Id. at p. 15. AUSA Katko then declared on the

    record that although Jackson was not subject to any mandatory minimum term of imprisonment, he

    might nevertheless receive a maximum term of life imprisonment in light of his guilty plea. Id. at

    pp. 15-16. Jackson also acknowledged that his counsel had discussed the United States Sentencing

    Guidelines ("Sentencing Guidelines") with Jackson, and that he understood their application to his


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    case. Id at p. 17. This Court then accepted his guilty plea. Id. at pp. 22-23.

           At the sentencing hearing following Jackson's guilty plea, this Court found his Total Offense

    Level to be 31, his criminal history category to be V, and the applicable range of imprisonment

    under the Sentencing Guidelines to be between 168 and 210 months. See Transcript of Sentencing

    of Anthony Jackson (1/5/05) (03-CR-0243, Dkt. No. 623) ("Sentencing Tr.") at p. 9. The Court

    thereafter imposed a sentence of 189 months imprisonment on Jackson. Id.2

           Jackson filed an appeal of the foregoing with the Second Circuit. In an unpublished decision
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    dated January 19, 2007, that court granted the Government's motion for "summary affirmance of

    Jackson's judgment of conviction and sentence," however it permitted Jackson to pursue a collateral

    challenge to his conviction relating to the voluntary nature of his guilty plea and the effectiveness of

    his trial counsel through a motion brought pursuant to 28 U.S.C. § 2255. See United States v.

    Edwards et al., No. 04-6558-cr, 214 Fed.Appx. 57, at *62 (2d Cir. Jan. 19, 2007).
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           On December 14, 2007, Jackson commenced the present action by filing a Motion to Vacate,

    Set Aside or Correct his Sentence. See 07-CV-1303, Dkt. No. 1 ("Motion to Vacate"). In his

    application, Jackson argues that his guilty plea must be set aside because he received the ineffective

    assistance of trial counsel in the related criminal matter. See Motion to Vacate. Specifically, he

    claims that such counsel: i) wrongfully represented to Jackson that he could not receive a sentence
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    of imprisonment longer than ten years if he pleaded guilty; ii) improperly claimed that if Jackson

    elected to proceed to trial on the charges in the Superceding Indictment, he could be sentenced to a

    maximum term of life imprisonment; and iii) permitted Jackson to plead guilty to a Racketeer

    Influenced and Corrupt Organizations Act ("RICO") charge despite the fact that the Superceding


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                  That sentence was subsequently reduced by this Court to 157 months imprisonment due to a reduction
       in the relevant guideline sentencing range adopted and made retroactive by the United States Sentencing
       Commission. See 03-CR-0243, Dkt. No. 773.

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    Indictment did not contain allegations which, if proven, would have established his guilt of a RICO

    violation. See Motion to Vacate; see also Memorandum of Law in Support of Motion to Vacate (03-

    CR-0243, Dkt. No. 724).

           The Office of the United States Attorney for the Northern District of New York, acting on

    respondent's behalf, filed a memorandum of law in opposition to Jackson's application. See 03-CR-

    0243, Dkt. No. 789. In that submission, respondent argues that the claims asserted by Jackson in

    this action are without merit and that his application must be denied. Id.
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           Petitioner thereafter filed a reply memorandum of law in further support of his Motion to

    Vacate. See 03-CR-0243, Dkt. No. 801. In that filing, Jackson reiterates his claims that his Motion

    to Vacate should be granted. Id.

    II.    Discussion

           A.      Applicable Legal Standard
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           The Sixth Amendment to the United States Constitution provides that "[i]n all criminal

    prosecutions, the accused shall enjoy the right ... to have the Assistance of Counsel for his defence."

    U.S. Const., amend. VI. Courts have long recognized this right to counsel as one that entitles a

    defendant to the right to the effective assistance of counsel. See McMann v. Richardson, 397 U.S.

    759, 771 n.14 (1970) (citations omitted). Under the familiar two-part test of Strickland v.
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    Washington, 466 U.S. 668 (1984), an individual who claims he received the ineffective assistance of

    counsel must demonstrate that the representation: i) "fell below an objective standard of

    reasonableness," id. at 688; and ii) prejudiced the petitioner. Id. at 694; see also Campusano v.

    United States, 442 F.3d 770, 773 (2d Cir. 2006) (citing Strickland, 466 U.S. at 688, 694).

           B.      Substance of Jackson's Claims

                           i)     Representations of Counsel Regarding Maximum Sentence If


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                                  Jackson Pleaded Guilty

           Petitioner initially argues that trial counsel wrongfully advised Jackson that he could not

    receive a sentence of imprisonment longer than ten years if he entered a guilty plea before this

    Court. See Motion to Vacate, Point 1. Specifically, he claims that although the Plea Agreement did

    not specifically discuss the range of imprisonment to which he would be subject upon entering his

    guilty plea, trial counsel "affirmatively misled [Jackson] by stating that the plea agreement would

    result in a sentence of no more than 10 years imprisonment. [Petitioner] would have gone to trial
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    rather than plead guilty if he knew that he could be sentenced to more than 10 years." Id. at p. 3. In

    support of this claim, Jackson has submitted an affidavit completed by Tiffany Waymon, the mother

    of Jackson's child, in which she declares, inter alia, that in January, 2004, she met with Jackson's

    counsel and two detectives, and that at that time, she was informed that Jackson "didn't feel he was

    guilty of everything the prosecution was accusing him of. And he did not want to take a deal for ten
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    years. [Defense counsel] and the detectives then told [Waymon] that ten years would be the max

    [Jackson] would receive." See 03-CR-0243, Dkt. No. 724-2 ("Waymon Aff.") at ¶¶ 4-5. Petitioner

    also cites the transcript of the proceeding wherein he pleaded guilty in support of this claim. He

    notes that at that hearing, when this Court inquired of AUSA Katko whether he could provide a "ball

    park figure" concerning Jackson's sentence under the Sentencing Guidelines, the Government's
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    attorney stated: "Worst case scenario, it's at a criminal history category IV, and assuming that, and

    he's a level 32, minus three for acceptance of responsibility, which the government believes he

    qualifies for, he would face a sentencing range of 121-151 months imprisonment." See Motion to

    Vacate at p. 5 (quoting Sentencing Tr. at pp. 16-17). He claims that the foregoing establishes that he

    received the ineffective assistance of counsel when he was sentenced to a term of 189 months

    imprisonment. Motion to Vacate at pp. 4-6.


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           Initially, the Court notes that Jackson's claims are refuted by the terms of his Plea Agreement

    into which he voluntarily entered.3 Specifically, the terms of that agreement clearly provide that

    Jackson was subject to a maximum term of life imprisonment upon his guilty plea to the top count

    in the Indictment. See Plea Agreement at ¶ 2(a).

           Moreover, the colloquy at the proceeding wherein Jackson formally entered that guilty plea

    further refutes petitioner's current contention that he was misled by his attorney into believing that

    he could not receive a sentence exceeding one hundred twenty months imprisonment if he pleaded
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    guilty. The record establishes that after the exchange cited by Jackson in support of this aspect of

    his application, this Court engaged in the following colloquy with Jackson:

                         THE COURT:                  Okay. All right. Anthony Jackson, has
                                                     [defense counsel] explained the Sentencing
                                                     Guidelines with you and gone over them
                                                     with you?
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                         THE DEFENDANT: Yes.

                         THE COURT:                  You understand how they work, sir?

                         THE DEFENDANT: Yes.

                         THE COURT:                  Okay. I have to tell you, you've made an
                                                     agreement with the Government, all right?
                                                     I'm not bound by that agreement. That's
                                                     between you and the Government. And I
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                                                     just want you to understand that if, after I
                                                     get the presentence report, it comes out
                                                     differently than you guys thought, I'm not
                                                     bound by what you and the Government put
                                                     together, do you understand that?


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                  Although not raised by Jackson as a ground for relief in this action, the record conclusively establishes
       that his guilty plea in the related criminal matter was knowingly, voluntarily and intelligently made. See Hill v.
       Lockhart, 474 U.S. 52, 56 (1985); North Carolina v. Alford, 400 U.S. 25, 31 (1970); Boykin v. Alabama, 395
       U.S. 238, 242-43 (1969) (United States Constitution requires that guilty plea be knowingly and voluntarily
       entered).

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                       THE DEFENDANT: Yes.

                       THE COURT:             Okay. And you realize you can't withdraw
                                              your plea of guilty; all you can do is, when
                                              this is all done, if I sentence you to more
                                              than 210 months – I believe that's the
                                              waiver, right?

                       AUSA KATKO:            That's correct.

                       THE COURT:             If I were to sentence you to more than that,
                                              then you could appeal my sentencing, and
                                              that would be it. Is that your understanding,
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                                              too?

                       THE DEFENDANT: Yes.

                       THE COURT:             Okay. All right. Now that you've been
                                              informed of the penalties, to the extent that
                                              we know them at this time, and the
                                              Sentencing Guidelines and my role under
                                              the guidelines, do you still wish to plead
                                              guilty?
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                       THE DEFENDANT: Yes.
    Plea Tr. at pp. 17-18. Petitioner has offered no explanation as to why he failed to alert this Court at

    the time of the exchange quoted above of his current claim that he had been assured by his counsel

    that Jackson would not be sentenced to a term of imprisonment exceeding 120 months. To the

    contrary, the record establishes that the minimum term of imprisonment in the sentencing range
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    described by AUSA Katko at Jackson's change of plea – 121 months – exceeded the ten year term

    now discussed by Jackson, while the maximum term in that range reflected a term exceeding twelve

    and one-half years in prison. Id. at p. 17. Furthermore, Jackson subsequently acknowledged at that

    proceeding that he was aware he could not appeal his sentence unless it exceeded approximately

    seventeen and one-half years imprisonment. Id. at p. 18.

           The Supreme Court has observed that statements made during a plea allocution "carry a

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    strong presumption of verity." Blackledge v. Allison, 431 U.S. 63, 74 (1977). "The subsequent

    presentation of conclusory allegations unsupported by specifics is subject to summary dismissal, as

    are contentions that in the face of the record are wholly incredible." Id.; see also Marcelin v.

    Garvin, 97 Civ. 2996, 1999 WL 977221 at *7 (S.D.N.Y. Oct. 26, 1999) (Peck, M.J.). As the Second

    Circuit noted in Adames v. United States, 171 F.3d 728 (2d Cir. 1999), a defendant's statements at

    his plea hearing "are generally treated as conclusive in the face of the defendant's later attempt to

    contradict them." Id. at 732.
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           Nothing before the Court casts doubt on the facts that: i) Jackson's Plea Agreement

    specifically provided that he could receive a sentence of life imprisonment if he pleaded guilty (Plea

    Agreement at ¶ 2(a)); and ii) at the hearing wherein Jackson pleaded guilty before this Court, he was

    informed that although the "ball park" guideline range of imprisonment was 121-151 months, he

    acknowledged that he was aware that under the terms of his Plea Agreement, he was prohibited from
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    appealing any sentence of 210 months imprisonment or less (Plea Tr. at pp. 16-17). Since those

    objective facts belie petitioner's current claim that he was assured by counsel that Jackson could not

    receive a sentence that exceeded one hundred twenty months imprisonment if he pleaded guilty, the

    Court denies this aspect of Jackson's Motion to Vacate as without substance.

                           ii)      Representations of Counsel Regarding Maximum Sentence If
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                                    Jackson Did Not Plead Guilty

           Jackson also claims that his trial counsel rendered ineffective assistance because he

    wrongfully estimated the maximum term of imprisonment to which Jackson would be subject if he

    declined to plead guilty and instead exercised his constitutional right to a jury trial on the charges

    against him in the Superceding Indictment. See Motion to Vacate.

           Jackson offers two, related theories in support of this claim.

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            He first contends that the allegations contained in the Superceding Indictment, even if

    established by the Government at trial, would have subjected petitioner to a maximum term of

    twenty years imprisonment. See id., Point 2. He claims, however, that defense counsel wrongfully

    advised petitioner that he could be sentenced to a term of life imprisonment if he proceeded to trial

    on the charges. In support of this claim, Jackson notes that in Waymon's affidavit, she declares that

    it was represented to Jackson that "he would surely get life" if he went to trial on the charges, and

    that she then persuaded Jackson to plead guilty "even though you're not guilty of all they've charged
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    you with [because] ten years we can live with, but life is out [sic] the question." See Waymon Aff.

    at ¶¶ 6, 10.

            Jackson's related claim asserts that the one of the two predicate acts he was alleged to have

    committed in conjunction with the claimed RICO conspiracy to which he pleaded guilty was a

    misdemeanor crime for which he could not have received a term of imprisonment exceeding one
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    year. Motion to Vacate, Point 3. Petitioner reasons that because the Superceding Indictment did not

    charge Jackson with two predicates acts, both of which were punishable by a term of imprisonment

    exceeding one year, trial counsel's advice that Jackson could have received a term of life

    imprisonment if he were convicted by jury of the RICO conspiracy charge was critically flawed and

    objectively unreasonable. Id.
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            Addressing first Jackson's claim that he could not have been sentenced to a prison term

    exceeding twenty years even if he were found guilty of the conduct charged in the Superceding

    Indictment, see Motion to Vacate, Point 2, the Court notes that such accusatory instrument alleged

    that Jackson and others combined, conspired, confederated, and agreed to engage in a pattern of

    racketeering activity through their membership in a criminal enterprise known as the Boot Camp


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    Gang. See Superceding Indictment at pp. 7-9. That instrument accused members of the criminal

    enterprise of committing numerous overt, criminal acts, including murder. Id. at p. 11. As this

    Court has previously observed in denying a motion to vacate filed by another member of the Boot

    Camp Gang, such an allegation was "significant because, if proven, it raised the statutory maximum

    term to life imprisonment for each of the defendants in the Superceding Indictment pursuant to 18

    U.S.C. § 1963(a), which provides that the statutory maximum penalty is 'life if the violation is based

    on a racketeering activity for which the maximum penalty includes life imprisonment.' " Holbdy v.
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    United States, Nos. 03-CR-0243 & 05-CV-1406, 2008 WL 2704913, at *1 n.2 (N.D.N.Y. July 8,

    2008) (emphasis added). Thus, any claim that counsel rendered ineffective assistance by wrongfully

    advising Jackson that he was subject to a term of life imprisonment if convicted of the charges

    brought against him in the Superceding Indictment is without merit.

           Jackson also asserts that because one of the two predicate acts he was charged with
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    committing in the Superceding Indictment is a misdemeanor offense, and therefore punishable by a

    maximum of one year in prison, he could not properly be found guilty of the RICO charge, which

    required proof that Jackson committed two or more crimes for which the maximum penalty

    exceeded one year imprisonment. See Motion to Vacate, Point 3. He specifically claims:

                   [i]n the present case, Mr. Jackson was charged with only two predicate
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                   acts in the "RICO" conspiracy but it is clear that one of the predicate
                   acts, "Criminal Possession of a Controlled Substance" in the seventh
                   degree, is a misdemeanor and under New York Penal Law, Article
                   §220.03 is not punishable by more than a year in prison. Therefore in
                   accordance with Federal Statute 18 USC §1961 and the 2nd, Circuit
                   Court of Appeals decision in the Tomosulo case, (see United States v.
                   Tomasulo, 726.F.2d 913, 1984 (2nd cir.) it is clear that Mr. Jackson
                   does not possess the two required predicate acts to constitute a
                   "pattern of racketeering" in relationship to Title 18 USC § 1961(5).
                   Mr. Jackson's "RICO" conspiracy conviction should be vacated and
                   dismissed.

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    Motion to Vacate at pp. 14-15. Petitioner argues that his counsel's failure to correctly advise

    Jackson of the maximum term of imprisonment to which he was subject if he elected to go to trial on

    the charges in the Superceding Indictment demonstrates that counsel rendered ineffective assistance.

    Id. at pp. 15-19.

           This argument, however, fails to acknowledge Supreme Court precedent which provides that

    courts cannot excuse from the reach of a RICO conspiracy charge “an actor who does not himself

    commit or agree to commit the two or more predicate acts requisite to the underlying offense.”
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    Salinas v. United States, 522 U.S. 52, 65 (1997). Instead, to establish a party's guilt of such a

    charge, the Government need only establish that the members of the conspiracy "agree[d] to pursue

    the same criminal objective;" recognizing the fact that although its members "may divide up the

    work ... each is responsible for the acts of each other." Id. at pp. 63-64 (citation omitted); see also

    United States v. Jones, No. 05-CR-322, 2007 WL 1428464, at *12 (N.D.N.Y. May 11, 2007). Thus,
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    "a conspiracy conviction may be sustained under subsection (d) [of Title 18 U.S.C. § 1962] if a

    co-conspirator committed at least two acts of racketeering and the defendant 'knew about and agreed

    to facilitate the scheme.' " United States v. Hickey, 16 F.Supp.2d 223, 229 (E.D.N.Y. 1998) (citing

    Salinas).

           Jackson himself concedes his guilt of the two predicate acts brought against him in the
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    Superceding Indictment. Motion to Vacate at p. 11. Moreover, the record amply supports the

    conclusion that Jackson knew about, and agreed to facilitate, the other criminal schemes of the Boot

    Camp Gang alleged in the Superceding Indictment. For example, at the hearing wherein he agreed

    to voluntarily enter his guilty plea, Jackson admitted his guilt of:

                   multiple acts involving conspiracy to possess with intent to distribute
                   cocaine base, crack, and marijuana, as well as possession with intent

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                    to distribute and distribution of cocaine base, crack, and marijuana, in
                    violation of Title 21 United States Code, Sections 841(a) and 846, and
                    multiple acts indictable under Title 18 United States Code, Section
                    1503, obstruction of justice, and Title 18 United States Code, Section
                    1512(b)(3), witness tampering.

    Plea Tr. at p. 7.

            Moreover, at Jackson's sentencing, this Court commented on its personal knowledge of the

    criminal activities of the Boot Camp Gang based upon the criminal matters that had come before the

    Court relating to that criminal enterprise. Specifically, the Court noted that the "jointly undertaken
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    criminal activity" of Jackson and its gang members included "the distribution of ... drugs, both ...

    marijuana and ... cocaine," and further that it was "reasonably foreseeable that [Jackson] knew guns

    would be used to carry out the criminal activity," which resulted in seven deaths and scores of

    people who were either shot or stabbed by members of Jackson's gang. See Sentencing Tr. at p. 5.

    Furthermore, the record demonstrates that Jackson's counsel was provided with approximately 2,700
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    pages of discovery in conjunction with the criminal action brought against Jackson. Plea Tr. at p.

    20. That fact supports the conclusion that trial counsel was aware of not only the alleged activities

    of Jackson, but also the criminal activities of the co-defendants named in the Superceding

    Indictment which, as noted above, included homicide and significant levels of drug trafficking.

            In sum, counsel properly represented to Jackson that he was subject to a maximum term of
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    life imprisonment in light of the charges returned against him in the Superceding Indictment.

    Therefore, Jackson's claims that: i) he was only subject to a maximum term of imprisonment of

    twenty years (Motion to Vacate, Point 2) and ii) his criminal activity was insufficient to establish his

    guilt of a RICO violation (id., Point 3) are without substance.

    III.    Certificate of Appealability


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           Finally, the Court notes that 28 U.S.C. § 2253(c)(1) provides in relevant part that, "[u]nless a

    circuit justice or judge issues a certificate of appealability, an appeal may not be taken to the court of

    appeals from . . . (B) the final order in a proceeding under section 2255."4 28 U.S.C. § 2253(c)(1).

    A court may only issue a Certificate of Appealability "if the applicant has made a substantial

    showing of the denial of a constitutional right." See 28 U.S.C. § 2253(c)(2). Since petitioner has

    failed to make such a showing, the Court declines to issue any Certificate of

    Appealability in this matter. See Hohn v. United States, 524 U.S. 236, 239-40 (1998).
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           WHEREFORE,

           After carefully reviewing Jackson's habeas application, respondent's opposition thereto, the

    documents filed in both this civil action and the related criminal matter, the applicable law, and for

    the reasons stated herein, its is hereby

           ORDERED, that Jackson's Motion to Vacate is DENIED, and it is further
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           ORDERED, that the Clerk of the Court serve a copy of this Order on the parties by regular

    or electronic mail.

           A Certificate of Appealability shall not be issued by this Court.

           IT IS SO ORDERED.

           Date: October 5, 2009
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                   Rule 22 of the Federal Rules of Appellate Procedure also provides that an appeal
       may not proceed in such actions "unless a circuit justice or a circuit or district judge issues a
       certificate of appealability under 28 U.S.C. § 2253(c)." See Fed. R. App. P. 22(b).

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